                  Case 1:19-cr-00078-SCJ-LTW Document 7 Filed 03/06/19 Page 1 of 3

MAGISTRATE'S CRIMINAL MINUTES

ARRAIGNMENT
      PLEA AND
            SENTENCE




                                                                                 Time in Court:                      Hrs         4   Min

 Filed in Open Court:          Date:   3/06/2019         Time:     3:48 p.m.               Tape:       FTR

Magistrate (presiding): JOHN K. LARKINS III                              Deputy Clerk:             Cynthia Mercado


 Case Number:       1.19-CR-078-UNA                              Defendant's Name:         Lohrasb Jeff Jafari

 AUSA:              Jill Steinberg                               Defendant's Attorney:     Richard Holcomb (IA ONLY)

 USPO/PTR:          Steven Witherspoon                           Type Counsel ( ) Retained         O CJA (x) FPD             O Waived


       ARREST DATE:

       INTERPRETER:

  X    INITIAL APPEARANCE HEARING. () In THIS DISTRICT                                      Dft in custody? (X) Yes               () No

       Defendant advised of right to counsel.         () WAIVER OF COUNSEL filed.

  X    ORDER appointing Federal Defender Program as counsel. (X) INITIAL APPEARANCE ONLY.

       ORDER appointing                                  State Bar #                        as counsel.

       ORDER giving defendant                                           days to employ counsel (cc: served by Mag CRD)

       Dft to pay attorney fees as follows:

       INFORMATION/INDICTMENT filed.                                                        WAIVER OF INDICTMENT filed.

  X    Copy information/indictment given to dit? (X) Yes () No - Read to dit? ( ) Yes () No (X) Waived formal reading

       CONSENT TO TRIAL BEFORE MAGISTRATE (Misd / Petty) offense filed.

  X    ARRAIGNMENT HELD. () Superseding indictment                                     () Dft's WAIVER of appearance filed.

       Arraignment continued to                                   at                        Request of () Govt () Dft

       Dft failed to appear for arraignment.                     Bench warrant issued

  X    Dft enters PLEA OF NOT GUILTY. () Dft stood mute; plea of NOT GUILTY entered. () Waiver of appearance.

       MOTION TO CHANGE PLEA, and order allowing same.

  X    ASSIGNED to District            Judge Jones               for (x) trial      () arraignment/sentence.

  X   ASSIGNED to Magistrate                  Judge Walker              for pretrial proceedings.

  X    Estimated trial time:                  days.                     ( ) SHORT        (X) MEDIUM        (        ) LONG

       PRE-SENTENCE INVESTIGATION filed. Referred to USPO for PSI and continued

       until                                    at                               for sentencing.

       Government MOTION FOR DETENTION filed. Hearing set for                                                  at

       Temporary commitment issued.           Dft remanded to custody of US Marshals Service.
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BOND/PRETRIAL DETENTION HEARING


X    DETENTION/BOND hearing held.

     Government MOTION FOR DETENTION () GRANTED                  () DENIED     () WITHDRAWN

     WRITTEN ORDER TO FOLLOW.

     HEARING HELD on motion for reduction / modification of bond.

     Defendant's Motion for Bond Reconsideration [Doc. 1869] is DENIED.

     WRITTEN ORDER TO FOLLOW.

X    BOND SET at       $ 100,000

X    Non-Surety

     Surety   (    ) Cash   (   ) Property   (   ) Corporate surety ONLY

     SPECIAL CONDITIONS:




X    Bond Executed.     Defendant Released.

     Bond NOT EXECUTED.            Defendant to remain in Marshal's custody.




WITNESSES:




SENTENCE:
            Case 1:19-cr-00078-SCJ-LTW Document 7 Filed 03/06/19 Page 3 of 3


U.S. Department of Justice
United States Attorney



                                                                            FILED IN   •P       C   FA
                             LN THE UNITED STATES DISTRICT •
                                FOR     •     DISTRICT OF •

                                                                            JAMES N. HATTEN, Clerk
                                    P L E A (With Counsel)                By:
                                                                                YA        Deputy Clerk

                                                            CRIMINAL NO. 1:19-CR-00078



      I, Lohrasb "Jeff" Jafari, the defendant, having received a copy of the indictment,
and having been arraigned, plead not guilty thereto.
      In Open Court this 6th day of March, 2019.



 SIGNATURE (Defense Attorney)                    SIGNATURE ( of ndant)
                                                 Lohrasb "Jeff" Jafari

                         INFORMATION BELOW MUST BE TYPED OR PRINTED

 Phone: U1oL i - 6 S k    t 36
 Bar Number:        3 (`' 3 5 j

                                                 Phone:



Filed in Open Court by:

 (Signature)                                                 Date




                                                                         Form No. USA-40-19-B
                                                                             N.D. Ga. 11/8/12
